         Case 1:23-cv-01744-JDB           Document 70-1     Filed 06/25/25     Page 1 of 2




                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

    SIERRA CLUB, et al.,
                                                          No. 1:23-cv-01744-JDB
                        Plaintiffs,
          v.

    UNITED STATES ENVIRONMENTAL
    PROTECTION AGENCY, et al.,

                        Defendants.




                                            STIPULATION
         In accordance with paragraph 7 of the Consent Decree, ECF No. 53-1 ¶ 7, it is hereby

stipulated between the Parties that the United States Environmental Protection Agency’s (“EPA”)

deadlines in paragraph 3(b) of the Consent Decree to “sign a notice of final rulemaking to approve,

disapprove, conditionally approve, or approve in part and disapprove in part” certain State

Implementation Plan (“SIP”) Regional Haze Plan revision submissions under Clean Air Act

section 110(k)(2)-(4), 42 U.S.C. § 7410(k)(2)-(4), are extended as follows:


      SIP Regional Haze Plan               Consent Decree               Extended Deadline
       Revision Submission                 ¶ 3(b) Deadline
                                          ECF No. 53-1 ¶ 3(b)

    South Dakota                      July 31, 2025                August 29, 2025
    Indiana                           August 1, 2025               December 1, 2025
    Colorado                          July 31, 2025                November 28, 2025
    South Carolina                    July 31, 2025                November 28, 2025
    Tennessee                         July 31, 2025                November 28, 2025
    Texas                             August 28, 2025 1            October 27, 2025

1
  EPA’s final action deadline for the Texas Regional Haze Plan revision submittal was extended
from May 30, 2025, to August 28, 2025, by this Court’s March 20, 2025 Order granting “EPA’s
                                                   1
       Case 1:23-cv-01744-JDB        Document 70-1       Filed 06/25/25     Page 2 of 2




 Hawaii                         September 30, 2025              December 19, 2025




For Plaintiffs
                                    /s/ Joshua D. Smith
                                    Joshua D. Smith
                                    Sierra Club
                                    2101 Webster Street, Suite 1300
                                    Oakland, CA 94612
                                    (415) 977-5560
                                    joshua.smith@sierraclub.org

Dated: June 16, 2025



For Defendants                      ADAM R.F. GUSTAFSON
                                    ACTING ASSISTANT ATTORNEY GENERAL
                                    Environment & Natural Resources Division



                                    /s/ Shari Howard
                                    Shari Howard
                                    U.S. Department of Justice
                                    Environment & Natural Resources Division
                                    Environmental Defense Section
                                    P.O. Box 7611
                                    Washington, D.C. 20044
                                    (202) 598-9407
                                    shari.howard@usdoj.gov

Dated: June 25, 2025




motion for extension of time to comply with certain of the consent decree’s deadlines,” ECF No.
68 at 10-11. EPA has agreed to extend the comment period for the proposed rule for Texas from
June 23, 2025, to July 23, 2025.

                                               2
